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 7                              IN THE UNITED STATES BANKRUPTCY COURT

 8                                           FOR THE DISTRICT OF ARIZONA

 9       JONATHAN DONALD KOOP,                                 Chapter 7

10                           Debtor.                           Case No. 2:18-bk-14089-MCW
                                                               Adv. Case No. 2:19-ap-00073-MCW
11       SHAWN MULLIGAN; ELITE
         ENTERPRISE SERVICES, LLC,                             STIPULATION TO STAY
12                                                             PROCEEDINGS PENDING
                             Plaintiffs,                       PERFORMANCE OF SETTLEMENT
13                                                             AGREEMENT
                   v.
14
         JONATHAN DONALD KOOP,
15
                             Defendant.
16
               The parties have entered into a settlement agreement whereby Debtor, without
17
      admitting any liability whatsoever, will make payments over a period of ten months. In the
18
      interim, the parties hereby stipulate to stay this case through November 15, 2020 and to toll
19
      any pending deadlines, provided that the parties shall file a stipulation for dismissal with
20
      prejudice upon completion of the settlement payments, or Plaintiffs may lodge a judgment in
21
      the amount described in the parties’ agreement upon an uncured default in making payments.
22
               DATED this 13th day of January, 2020.
23
      ENGELMAN BERGER, P.C.                                   JENNINGS, HAUG & CUNNINGHAM
24
      By    /s/ Bradley D. Pack                               By /s/ Matthew H. Sloan (w/permission)
25    Steven N. Berger                                        Matthew H. Sloan
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26    Attorneys for Jonathan Koop
27


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     2:19-ap-00073-MCW          /}        Doc 27 Filed 01/13/20 Entered 01/13/20 16:08:15    Desc
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